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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.          CV 18-5741-DMG (PLAx)                                         Date   December 14, 2020
 Title             LUCAS R., et al. v. ALEX AZAR, et al.




 Present: The                     Sheri Pym, United States Magistrate Judge
 Honorable
                Kimberly Carter                                None                             None
                 Deputy Clerk                        Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:



 Proceedings:                 (In Chambers) Order Continuing Further Settlement Conference Date



       The further settlement conference set for December 22, 2020 is hereby continued
to January 11, 2021 at 9:30 a.m. All other terms of the court’s December 8 order setting
this further settlement conference remain in effect.




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